Case 1:16-cv-01122-VEC Document 147-5 Filed 01/11/21 Page 1 of 5




                 Exhibit 4
        Case 1:16-cv-01122-VEC Document 147-5 Filed 01/11/21 Page 2 of 5




                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

      MICHELLE MARINO, DEBORAH                          CASE NO.:
      ESPARZA, MONICA RAEL, and                         1:16-cv-01122-VEC (OTW) (Lead)
      CERA HINKEY, on behalf of
      themselves and all others similarly               Consolidated Member Case Nos.:
      situated,                                         1:16-cv-03773-VEC (OTW)
                                                        1:16-cv-03677-VEC (OTW)
                       Plaintiffs,                      1:16-cv-05320-VEC (OTW)

        v.

      COACH, INC.,



                          DECLARATION OF CHARLES D. MOORE

        I, Charles D. Moore, declare as follows:

        1.      I am one of the counsel for the Plaintiffs in this case. I submit this affidavit in

support of Plaintiffs’ Unopposed Motion for Final Approval of Class Action Settlement.

        2.      The facts contained in this Affidavit are within my personal knowledge, and I could

testify to those facts if called to do so under oath.

        3.      I was first admitted to practice law in 2014 in Minnesota. (Bar No. 396066). I have

been admitted pro hac vice in this matter.

        4.      I am a graduate of Hamline University School of Law (J.D., 2014) and University

of North Dakota (B.A., 2007).

        5.      I have been in private practice since 2014, and a large portion of my practice has

involved litigation on behalf of consumers, representing individuals and classes injured by

deceptive advertising on consumer products, violations of the Fair Credit Reporting Act, violations

of the Truth in Lending Act, and other unfair and deceptive business practices.

        6.      Over the past seven years, I have gained substantial experience handling complex

civil litigation and class action litigation.



                                                   1
        Case 1:16-cv-01122-VEC Document 147-5 Filed 01/11/21 Page 3 of 5




       7.      I was lead counsel from Halunen Law in this case. As reflected below, my time

accounts for 84.1% of our firm’s time billed to this matter.

       8.      I have been actively involved in multiple actions in which Halunen Law was named

Class Counsel or Settlement Class Counsel, including Luib v. Henkel Consumer Goods, Court File

No. 1:17-cv-03021-BMC (E.D.N.Y.); Rapaport-Hecht. v. Seventh Generation, Inc., Court File No.

14-CV-9087 (KMK) (S.D.N.Y.); Baharestan et al. v. Venus Laboratories, Inc. d/b/a Earth

Friendly Products, Inc., Court File No. 3:15-cv-03578-EDL (N.D. Cal.); and Frohberg et al. v.

Cumberland Packing Corp., Court File No. 1:14-cv-00748-KAM-RLM (E.D.N.Y.). The Luib

action litigation involved the deceptive labeling of cleaning products, and resulted in monetary

and injunctive relief. The Rapaport-Hecht litigation resulted in a settlement of $4,500,000 for the

deceptive marketing of cleaning products. The Baharenstan action involved the deceptive

marketing of home care and cleaning products, and resulted in monetary relief as well as significant

changes to the products’ labels and formulations. The Frohberb action involved the deceptive

marketing of food products and resulted in the monetary relief and significant changes to the

products’ labels.

        9.     Halunen Law has also been named Class Counsel, Lead Counsel, or Settlement

Class Counsel in consumer class actions styled Luib v. Henkel Consumer Goods, Court File No.

1:17-cv-03021-BMC (E.D.N.Y.); Rapaport-Hecht. v. Seventh Generation, Inc., Court File No. 14-

CV-9087 (KMK) (S.D.N.Y.); Martin et al. v. Cargill, Inc., Court File No. 1:14-cv-00218-LEK-

BMK (D. Haw.); Gay et al. v. Tom’s of Maine, Inc., Court File No. 0:14-cv-60604-KMM (S.D.

Fla.); Barron v. Snyder’s-Lance, Inc., 0:13-cv-62496-JAL, (S.D. Fla.); Frohberg et al. v.

Cumberland Packing Corp., Court File No. 1:14-cv-00748-KAM-RLM; Baharestan et al. v.

Venus Laboratories, Inc. d/b/a Earth Friendly Products, Inc., Court File No. 3:15-cv-03578-EDL

(N.D. Cal.); In re: IKO Roofing Shingle Products Liability Litig., Court No. 09-md-2104 (C.D.

Ill.); In re Santa Fe Natural Tobacco Co. Mktg & Sales Practices Litig., Court File No.

1:16md2695 (D.N.M.).



                                                 2
       Case 1:16-cv-01122-VEC Document 147-5 Filed 01/11/21 Page 4 of 5




       10.      Christopher J. Moreland is a partner in the Firm with more than 25 years of

litigation experience. Mr. Moreland worked on this matter. He is licensed in several state and

federal courts around the country and has been appointed class counsel in numerous class actions.
 Name                 Position          Total Hours        Adjusted Rate      Lodestar

 Charles D. Moore     Associate         317.40              $550                $174,570
 Christopher J.       Partner           31.40               $800                $25,120
 Moreland
 Jennifer Seltz       Paralegal         28.20               $200                $5,640


 TOTAL                                  377.4                                   $205,570


       11.      The above chart was prepared from contemporaneous detailed daily time records

regularly prepared and maintained by Halunen Law utilizing timekeeping software to which all

employees have access. In my opinion, the time spent by attorneys and staff of Halunen Law was

reasonable and necessary. Indeed, by prosecuting this case purely on a contingency basis and not

being paid by the hour, Halunen Law attorneys and staff worked efficiently and avoided

unnecessary work. The detailed time and expense entries are available to the Court in camera

upon request.

       12.      Halunen Law incurred $6689.92 in unreimbursed case-related expenses, including

expenses related to filing, travel, copying, and case administration. Expenses are accounted for

and billed separately and are not duplicated in my firm’s professional billing rate. Halunen Law

has not received reimbursement for expenses incurred in connection with this litigation. The actual

expenses incurred in the prosecution of this case is reflected on the computerized accounting

records of my firm prepared by bookkeeping staff, based on receipts and check records, and

accurately reflect all actual expenses incurred. These expenses were necessary to prosecuting

litigation of this size and complexity on behalf of the Settlement Class, and they are typical of

expenses regularly awarded in large-scale class actions. Indeed, because Halunen Law was

responsible for advancing all expenses incurred, Halunen Law had a strong incentive not to spend

any funds unnecessarily.

                                                 3
       Case 1:16-cv-01122-VEC Document 147-5 Filed 01/11/21 Page 5 of 5




       13.     The hourly rates are based on the typical hourly rates for lawyers of similar

experience in the communities in which Class Counsel practice.

       14.     The hourly rates shown for the attorneys at Halunen Law are our 2020-2021 rates

charged as delineated by the Adjusted Laffey Matrix (http://www.laffeymatrix.com/), which

provides market rates for attorneys working in the Washington, D.C. area. See, e.g., DL v. Dist. of

Columbia, 924 F.3d 585 (D.C. Cir. 2019) (discussing the history and basis of the Laffey matrix).

Although the Adjusted Laffey Matrix is updated annually, courts have awarded attorneys’ fees

consistent with the Adjusted Laffey Matrix to my firm in a number of cases. See, e.g., KLuib v.

Henkel Consumer Goods, Court File No. 1:17-cv-03021-BMC (E.D.N.Y.); Rapaport-Hecht. v.

Seventh Generation, Inc., Court File No. 14-CV-9087 (KMK) (S.D.N.Y.); Martin et al. v. Cargill,

Inc., Court File No. 1:14-cv-00218-LEK-BMK (D. Haw.); Gay et al. v. Tom’s of Maine, Inc.,

Court File No. 0:14-cv-60604-KMM (S.D. Fla.); Barron v. Snyder’s-Lance, Inc., 0:13-cv-62496-

JAL, (S.D. Fla.); Frohberg et al. v. Cumberland Packing Corp., Court File No. 1:14-cv-00748-

KAM-RLM; Baharestan et al. v. Venus Laboratories, Inc. d/b/a Earth Friendly Products, Inc.,

Court File No. 3:15-cv-03578-EDL (N.D. Cal.); In re: IKO Roofing Shingle Products Liability

Litig., Court No. 09-md-2104 (C.D. Ill.).


         Executed at Minneapolis, Minnesota this 11th day of January 2021.



                                                     s/ Charles D. Moore
                                                     Charles D. Moore, Esq.




                                                4
